        Case 1:13-cv-00516-TCW Document 7 Filed 12/06/13 Page 1 of 1


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                                            (Filed: December 6, 2013)
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                                                                                        *                   u.s. couRT oF
                                                                                                           FEDERAL CLAIMS
NOBLE SHEKHEM DAAWUUD                                    EL                                 'I'
                                                                                            ,}
AMEN RA BEY,
                                                                                            t'

                               Plaintiff,                                                   *




THE I'NITED STATES,

                               Defendant.
                                                                                            :
***{.*************:t      **   :}   ****    +   ****              +    ****           ,1.   *

                                                ORDER OF DISMISSAL

       On September 23,2013, counsel for the Govemment filed a motion to dismiss pro
se Plaintiff Noble Shekhem Daawuud El Amen Ra Bey's complaint pursuant to Rules
l2(bxl) and (6) of the Rules of the Court of Federal Claims. Plaintiffs response was
due by october 24, 2013        .
                           In a show cause order issued on November 7 , 2013, the court
ordered Plaintiff to file his response by December 2, 2013 including a statement
explaining why the Court should not dismiss his complaint under Rule 41(b) for failure to
prosecute. However, as of the date of this order, Plaintiff has not filed a response.

       Accordingly, Plaintiffs complaint is DISMISSED with prejudice under Rule
4l(b) for failure to prosecute, and the Clerk is directed to close the case.

       IT IS SO ORDERED.                                                                                     . A^
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                                                                                                  THOMAS C. WHEELER
                                                                                                  Judee
